       Case 3:22-cv-02869-TLT Document 26 Filed 07/27/22 Page 1 of 3



 1   MCCARTER & ENGLISH, LLP
     MARK GIARRATANA (pro hac vice anticipated)
 2   THOMAS J. RECHEN (pro hac vice anticipated)
 3   KEVIN REINER (pro hac vice anticipated)
     mgiarratana@mccarter.com
 4   trechen@mccarter.com
     kreiner@mccarter.com
 5   CityPlace I
     185 Asylum Street
 6
     Hartford, CT 06103
 7   Telephone:    860.275.6706
     Facsimile:    860.218.9680
 8
     NOSSAMAN LLP
 9   JAMES H. VORHIS (SBN 245034)
10   jvorhis@nossaman.com
     DAVID C. LEE (SBN 193743)
11   dlee@nossaman.com
     50 California Street, 34th Floor
12   San Francisco, CA 94111
     Telephone:     415.398.3600
13
     Facsimile:     415.398.2438
14
     Attorneys for Defendant FINELITE, INC.
15

16                               UNITED STATES DISTRICT COURT

17                              NORTHERN DISTRICT OF CALIFORNIA
18   SEOUL SEMICONDUCTOR CO., LTD., a           Case No: 3:22-cv-02869-WHO
     Korean corporation, SEOUL VIOSYS CO.,
19   LTD., a Korean corporation,                Assigned for all purposes to Hon. William H.
                                                Orrick
20                Plaintiffs,
                                                REQUEST FOR JUDICIAL NOTICE IN
21                                              SUPPORT OF DEFENDANT FINELITE,
           vs.
                                                INC.’S PARTIAL MOTION TO DISMISS
22   FINELITE, INC.,
                                                Date:        August 31, 2022
23                Defendant.                    Time:        2:00 p.m.
                                                Location:    Courtroom 2, 17th Floor
24

25                                              Action Filed: May 13, 2022

26

27

28
                                                                      Case No. 3:22-cv-02869-WHO
     REQUEST FOR JUDICIAL NOTICE ISO DEFENDANT FINELITE, INC.’S PARTIAL MOTION TO DISMISS
       Case 3:22-cv-02869-TLT Document 26 Filed 07/27/22 Page 2 of 3



 1          Defendant Finelite, Inc. (“Finelite”) respectfully requests that the Court take judicial
 2   notice of the following documents attached to the Declaration of Kevin L. Reiner, filed
 3   concurrently herewith, pursuant to Federal Rule of Evidence (“Rule”) 201:
 4          Exhibit A: Final Written Decision of the Patent Trial and Appeal Board (“PTAB”)
 5   within the United States Patent and Trademark Office (“USPTO”) for U.S. Patent no. 10,134,967
 6   (“’967 Patent”), dated July 21, 2021.
 7          Exhibit B: Inter Partes Review (“IPR”) Certificate for U.S. Patent no. 10,134,967,
 8   issued by PTAB on April 5, 2022.
 9          Both the Final Written Decision and IPR Certificate are part of the official, public
10   UPSTO file history of the ’967 Patent. Under Rule 201(b), courts may judicially notice a fact
11   that is not subject to reasonable dispute because it is “generally known within the territorial
12   jurisdiction of the trial court” or “capable of accurate and ready determination by resort to
13   sources whose accuracy cannot reasonably be questioned.” Courts may also take judicial notice
14   of public records, including the UPSTO record. Lee v. City of Los Angeles, 250 F.3d 668, 689
15   (9th Cir. 2001) (taking judicial notice of “matters of public record”); see also Prime Focus
16   Creative Servs. Can. v. Legend3D, Inc., No. CV-15-2340-MWF (PLA), 2015 U.S. Dist. LEXIS
17   188992, at *4 (C.D. Cal. 2015) (taking judicial notice of IPR Petition as part of USPTO record,
18   and thus “taken from a source whose accuracy cannot reasonably be questioned.”); Advanced
19   Steel Recovery, LLC v. X-Body Equip., Inc., No. 216CV00148KJMEFB, 2016 U.S. Dist. LEXIS
20   105211, 2016 WL 4192439, at *3 (E.D. Cal. 2016) (patent's file history was matter of public
21   record subject to judicial notice); Wi-LAN Inc. v. LG Elecs., Inc., 382 F. Supp. 3d 1012, 1028
22   (S.D. Cal. 2019) (taking judicial notice of records and reports of administrative bodies, including
23   USPTO records).
24          In sum, both the Final Written Decision and IPR Certificate are part of the public USPTO
25   record, and thus are taken from a source whose accuracy cannot reasonably be questioned.
26   Finelite respectfully requests that this request for judicial notice be granted as to each such
27   document.
28
                                            -1-                      Case No. 3:22-cv-02869-WHO
     REQUEST FOR JUDICIAL NOTICE ISO DEFENDANT FINELITE, INC.’S PARTIAL MOTION TO DISMISS
      Case 3:22-cv-02869-TLT Document 26 Filed 07/27/22 Page 3 of 3



 1

 2   Date:    July 27, 2022                        NOSSAMAN LLP
                                                   JAMES H. VORHIS
 3                                                 DAVID C. LEE
 4
                                                   By: /s/ James H. Vorhis
 5
                                                          James H. Vorhis
 6
                                                   Attorneys for Defendant FINELITE, INC.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            -2-                      Case No. 3:22-cv-02869-WHO
     REQUEST FOR JUDICIAL NOTICE ISO DEFENDANT FINELITE, INC.’S PARTIAL MOTION TO DISMISS
